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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

                                The Honorable Robert M. Spector
                                       141 Church Street
                                          Room 303
                                     New Haven, CT 06510

                                  Settlement Conference Order

This case is scheduled for a settlement conference with the Honorable Robert M. Spector, United
States Magistrate Judge. Local counsel should notify any pro hac vice counsel of the date and
time of the conference.

The purpose of the settlement conference is to give parties the opportunity to consider settlement
before additional litigation expenses and resources are expended. In their representation of
clients and fulfillment of obligations to the Court, counsel is instructed to approach the
conference in good faith and with the preparation necessary to reach a resolution of the matter.
Counsel should arrive at the conference ready to discuss a reasonable resolution of the case
consistent with its merits.

The Court orders the parties to be present at the conference. If a party is a legal entity rather
than an individual, a representative of the entity who is fully authorized to decide all matters
pertaining to the case must be present. The Court will not hold a settlement conference without
all parties present. Availability of a party by telephone is permissible only with permission of
the Court obtained well in advance of the conference date. In cases where a party requires
authority from an insurer to settle the case, an insurance company representative with full
authority to settle the case must be present. For a plaintiff, “full authority” means final authority
to dismiss the case with prejudice, and to accept in settlement an amount or terms down to the
defendant’s last offer. For a defendant, “full authority” means final authority to commit a
defendant to pay, in the representative’s own discretion, a settlement amount up to the plaintiff’s
prayer or the plaintiff’s last demand, whichever is lower. The purpose of this requirement is to
have in attendance a person with both the authority and independence to settle the case during
the settlement conference without consulting anyone not present. The requirement that parties
personally appear is intended to increase the efficiency and effectiveness of the settlement
conference. Failure of a party to comply with these requirements may result in the imposition of
sanctions.

Settlement conferences are often unproductive unless the parties have exchanged offers and
demands before the conference and made a serious effort to settle the case on their own.
Therefore, fourteen (14) days prior to the date of the settlement conference, the plaintiff’s
counsel shall serve a settlement demand upon counsel for the defendant. The demand shall be
accompanied by the plaintiff’s damages analysis and include a summary of outstanding liens. If
the defendant disagrees with the plaintiff’s calculation of damages, the defendant’s counsel shall



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respond to the plaintiff’s analysis not later than seven (7) days before the conference. The
defendant must make a counteroffer prior to the settlement conference.

Not later than seven (7) days prior to the date of the settlement conference, counsel for each
party must submit to Judge Spector an ex parte, confidential settlement memorandum.
This memorandum shall not exceed 10 double-spaced pages in length. The settlement
conference memorandum should set forth the legal elements of the claims and defenses asserted,
the factual basis for these claims and defenses, what discovery is anticipated, the time required
to complete discovery, any substantive motions contemplated, and the amount and nature of
demands and/or offers made to date.

Settlement conference memoranda are an opportunity for counsel to explain—to present to
the Court—the salient elements of the litigation; counsel should not refer the Court to
pleadings already filed in the case. Counsel shall list the names of all those who will be
attending the conference, including their job titles. In the event that Counsel, in their discretion,
feel certain exhibits are necessary to assist the Court in understanding the pertinent facts of the
case, exhibits may be submitted along with the settlement memorandum. The Court notes that
exhibits should be submitted only when necessary and are not a substitute for a well-
composed memorandum.

Settlement memorandum and any exhibits can be submitted by email to
RMS_Settlement@ctd.uscourts.gov

Any requests or questions relating to the settlement conference must be made to Chambers in
writing, or by telephone and confirmed in writing. Continuances will be granted only for good
cause clearly shown. If a continuance is requested, counsel making the request must first consult
with counsel for all other parties, and, in the event a continuance is granted, must notify all
parties of the new date and time.

The scheduling of a settlement conference does not affect existing deadlines and shall not
delay discovery unless the Court has entered a separate order to that effect.

If the case is resolved after the issuance of this Order, the parties shall contact Judge Spector’s
Chambers before the date of the conference to advise the Court of the existence of the settlement.




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